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     Dochtor Kennedy, Petitioner  v.  FA Expungement, LLC, a Colorado limited liability company; Estate of Charles Sisk; Bridget L. Schaan; and Tosh D. Grebenik, Respondents No. 24SC432Supreme Court of Colorado, En BancDecember 23, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA671
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    